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                          14                       IN THE UNITED STATES DISTRICT COURT
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                          15                               FOR THE DISTRICT OF ARIZONA
                          16
                                  Chris Griffey, et al.,                       No. CV-20-01282-PHX-MTL (Lead)
                          17                                                   No. CV-20-01350-PHX-MTL (Cons)
                                                 Plaintiffs,
                          18
                                  v.                                           REPLY IN SUPPORT OF
                          19                                                   MOTION TO DISMISS
                          20      Magellan Health Incorporated,                PLAINTIFFS’ SECOND
                                                                               AMENDED CONSOLIDATED
                          21                     Defendant.
                                                                               CLASS ACTION COMPLAINT
                          22
                          23
                                  Daniel Ranson, et al.,
                          24
                                                 Plaintiffs,
                          25
                                  v.
                          26
                                  Magellan Health Incorporated,
                          27
                                                 Defendant.
                          28
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                           1   I.     INTRODUCTION
                           2          Three times Plaintiffs have amended their complaint. And three times Plaintiffs
                           3   have failed to allege cognizable loss to sustain any of their claims, despite acknowledging
                           4   that it is an indispensable requirement. In dismissing the FACC, the Court provided clear
                           5   guidance on what Plaintiffs must plead for this action to continue. But Plaintiffs still do not
                           6   (and obviously cannot) plead any cognizable loss from the phishing incident at issue
                           7   (“Incident”), despite such guidance and even though the Incident occurred more than a year
                           8   ago. Nor can they cure other fatal deficiencies with their claims.
                           9          Four of the ten plaintiffs—Griffey, Domingo, Rivera, and Culberson—are “Notice
                          10   “Only Plaintiffs ” in that they continue to only allege that they received notice of the
                          11   Incident and nothing else, which this Court previously held was insufficient. They also do
                          12   not respond to Magellan’s latest motion to dismiss, which alone warrants their dismissal.
                          13   The next group of plaintiffs are the “Attempted Fraud Plaintiffs”—Rayam and
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                          14   Williams—who, same as before, each allege instances of attempted identity fraud without
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                          15   any cognizable loss flowing from these attempts. They allege nothing new and that failure
                          16   warrants their dismissal as well. The third and final group of plaintiffs, the “Credit
                          17   Monitoring Plaintiffs”—Leather, Ranson, Flanders, and Lewis—repeat allegations that
                          18   they have cognizable losses because they chose to pay for credit monitoring or for a dark
                          19   web search in lieu of the two years of complimentary credit monitoring offered by
                          20   Magellan. But, contrary to this Court’s guidance, none plead how or why such expenses
                          21   were reasonable and necessary or that Magellan’s credit monitoring was inadequate.
                          22   Instead, they proffer the same types of conclusory allegations of purchasing “superior” or
                          23   “necessary” monitoring that this Court has already deemed insufficient. Thus, the Credit
                          24   Monitoring Plaintiffs’ self-inflicted expenses remain untethered to any legitimate need;
                          25   they are not cognizable losses.
                          26          The SACC also should be dismissed for the additional reasons previously articulated
                          27   by the Court, as the SACC merely repackages the same deficient allegations. In particular,
                          28   Plaintiffs still fail to plausibly allege inadequate data security measures by Magellan that



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                           1   caused the Incident to sustain their unjust enrichment and consumer protection claims.
                           2   Repeating the same failed strategy, Plaintiffs, in addition to alleging a hodgepodge of
                           3   cybersecurity guidance that may or may not apply to Magellan, now allege a hodgepodge
                           4   of cybersecurity measures that they assume Magellan did not have (solely because the
                           5   Incident occurred), should have had, and would have prevented the Incident. But more
                           6   conclusory allegations is not the cure for their already failed ones.
                           7          In short, the SACC offers no more substance than the FACC. It should be dismissed
                           8   for the same reasons, this time with prejudice.
                           9   II.    ARGUMENT
                          10          A.     Plaintiffs Do Not Allege Cognizable Injury
                          11          In dismissing Plaintiffs’ FACC, this Court held that Plaintiffs’ damages allegations
                          12   failed “to state a claim alleging a cognizable tort injury.” Griffey v. Magellan Health Inc.,
                          13   No. CV-20-01282-PHX-MTL, 2021 WL 4427065, at *6 (D. Ariz. Sept. 27, 2021). In the
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                          14   SACC, Plaintiffs do not correct this failure, which dooms each of their claims. (ECF No.
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                          15   41 at 4–5.)
                          16          In their Opposition, Plaintiffs do not even attempt to argue that the four Notice Only
                          17   Plaintiffs have alleged a cognizable injury. (See generally Opp.) As a result, and because
                          18   nothing has changed with regard to those four plaintiffs since this Court’s dismissal of the
                          19   FACC (compare FACC, ¶¶ 1, 4, 12, 13; with SACC, ¶¶ 1, 4, 12, 13), the four Notice Only
                          20   Plaintiffs should be dismissed again, with prejudice this time. See Thompson v. Isagenix
                          21   Int’l, LLC, No. CV-18-04599-PHX-SPL, 2020 WL 1432840, at *4 (D. Ariz. Mar. 24, 2020)
                          22   (“[B]y failing to address arguments in an opposition, a party effectively concedes a claim.”)
                          23   (internal citations omitted).
                          24          Similarly, with regard to the two Attempted Fraud Plaintiffs, Plaintiffs’ Opposition
                          25   merely re-hashes the argument that because “Rayam (unauthorized charges on his card)
                          26   and Williams (information used to apply for AZ unemployment benefits) have alleged that
                          27   ‘they have suffered actual misuse of their personal information [they] have clearly suffered
                          28



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                           1   an actual injury for which they may recover.’” (Opp. at 4.) But this Court has already
                           2   rejected that argument and held that:
                           3               Although Plaintiffs Williams and Rayam experienced attempted
                                           fraud, their claims are not cognizable. Whether any fraud will
                           4
                                           actually occur in the future is speculative. As a result, Plaintiffs only
                           5               suffer a threat of future injuries. But Arizona law requires negligence
                                           damages to be more than merely a threat of future harm. Threats of
                           6               future harm, on their own, are not cognizable negligence injuries.
                           7   Griffey, 2021 WL 4427065, at *5 (citation omitted.) Therefore, and because these two
                           8   plaintiffs have again failed to allege anything new about the nature of their alleged
                           9   damages, (compare FACC, ¶¶ 2–3, 6–7; with SACC, ¶¶ 2–3, 6–7) the two Attempted Fraud
                          10   Plaintiffs should be dismissed once more, with prejudice.
                          11           Finally, Plaintiffs argue that the four Credit Monitoring Plaintiffs—Leather,
                          12
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                               Ranson, Lewis, and Flanders—have updated their claims in the SACC to “‘allege that the
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                               identity monitoring services offered by Magellan were inadequate in some way to justify
                          14   the out-of-pocket expenses’ they incurred.” (Opp. at 3.) And they argue that these Plaintiffs
                          15   “have alleged that their out-of-pocket expenses were reasonable and necessary.” (Id. at 4.)
                          16   Plaintiffs still miss the mark.
                          17           Notably, Ranson does not allege that he ever actually purchased any credit
                          18   monitoring services. (SACC, ¶¶ 8–10 (“Plaintiff Ranson enrolled in a credit monitoring
                          19   service[.]” (emphasis added)).) Elsewhere in the SACC, in contrast, Leather alleges that
                          20   she individually paid a monthly $9.99 charge for her credit monitoring (SACC, ¶ 5);
                          21   Flanders alleges that he “paid a cybersecurity consultant to search the ‘Dark Web’” (id. at
                          22   ¶ 11); and Lewis alleges that he upgraded his free credit monitoring to a “more robust”
                          23   plan at a monthly cost of $24.99 (id. at ¶ 15). Because Ranson fails to allege that he incurred
                          24   any out-of-pocket expenses whatsoever, he fares no better than the Attempted Fraud
                          25   Plaintiffs and his claims should be dismissed for the same reason.1 Griffey, 2021 WL
                          26
                               1
                                 Additionally, Ranson’s California UCL claim requires him to plead a specific type of
                          27
                               injury: “lost money or property” to survive dismissal. In re Adobe Sys., Inc. v. Privacy
                          28   Litig., 66 F. Supp. 3d 1197, 1223 (N.D. Cal. 2014). Ranson fails to allege any such loss.
                               (SACC, ¶¶ 8–10.)


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                           1   4427065, at *5; see, e.g., Pruchnicki v. Envision Healthcare Corp., 439 F. Supp. 3d 1226,
                           2   1233 (D. Nev. 2020), aff’d 845 F. App’x 613 (9th Cir. 2021); Krottner v. Starbucks Corp.,
                           3   406 F. App’x 129, 131 (9th Cir. 2010) (unpublished).
                           4          Notwithstanding, none of the Credit Monitoring Plaintiffs follow the Court’s
                           5   instruction to plead why their respective voluntary credit monitoring expenses were
                           6   reasonable and necessary. To do that, they must plead exactly how Magellan’s offer of free
                           7   credit monitoring was inadequate. Griffey, 2021 WL 442765, at *6. Leather newly alleges
                           8   that she paid $9.99 for Lifelock Standard credit monitoring, that it includes different
                           9   features from the Experian IdentityWorks offered by Magellan, and is therefore “superior.”
                          10   (SACC, ¶ 5.) Similarly, Lewis newly alleges that his credit monitoring is “superior” to
                          11   Magellan’s, which does not include identity theft monitoring and protection. (Id. at ¶ 15.)
                          12   Ranson and Flanders newly allege that their credit monitoring and dark web searches,
                          13   respectively, were “necessary given the sensitive nature of the information compromised
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                          14   by the Breach and the fact that the monitoring services offered by Defendant do not include
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                          15   identity theft monitoring and protection.” (Id. at ¶¶ 9, 11.) In all, these are the same types
                          16   of conclusory allegations that this Court has already rejected. Pleading that they chose to
                          17   pay (except for Ranson) for something else because it was superior or necessary does not
                          18   “properly allege that the identity monitoring services offered by Magellan were inadequate
                          19   in some way to justify the out-of-pocket expenses.” Griffey, 2021 WL 4427065, at *6. In
                          20   other words, their voluntary expenses for different monitoring services remain untethered
                          21   to any reasonable need for them, and thus should be rejected.
                          22          B.     Plaintiffs Fail to Properly Plead Inadequate Security to Sustain Their
                          23                 Unjust Enrichment and Consumer Protection Claims
                          24          In their Opposition, Plaintiffs contend that they have sufficiently alleged how
                          25   Magellan’s data security was inadequate because they now specify what Magellan
                          26   allegedly failed to do and what “specific data security measures” recommended by
                          27   government agencies “Defendant failed to implement.” (Opp. at 4–5 (citing SACC, ¶¶ 88–
                          28   89).) That argument, however, misstates Plaintiffs’ actual allegations.



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                           1          In fact, Plaintiffs’ SACC does not allege that Magellan failed to meet any of the
                           2   newly identified standards, nor does it specify which of the standards are actually at issue.
                           3   Instead, Plaintiffs merely allege that “the occurrence of the Data Breach indicates that
                           4   Defendant failed to adequately implement one or more of the above measures to prevent
                           5   ransomware attacks, resulting in the Data Breach and the exposure of the PII of
                           6   approximately X individuals, including Plaintiff and Class Members.” (SACC, ¶ 91
                           7   (emphasis added).) That is exactly the type of conclusory allegation that this Court has
                           8   already rejected:
                           9               Alleging that a system was inadequate because a negative result
                                           occurred is conclusory, and Plaintiffs’ claim that Magellan’s system
                          10
                                           fell below an ill-defined standard is conclusory. The Court is
                          11               permitted to disregard conclusory allegations. And so, the Court
                                           finds that Plaintiffs fail to properly allege that Magellan’s data
                          12               security was inadequate.
                          13   Griffey, 2021 WL 4427065, at *8 (emphasis added); see also id. at *9 (“[T]he Court has
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                          14   no obligation to consider conclusory or nonexistent allegations.”).
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                          15          As a result, Plaintiffs have not cured the deficiencies from their earlier pleadings,
                          16   and there is still “no way to establish on the pleadings that Magellan was enriched, that
                          17   Plaintiffs were impoverished, that there was a connection between the enrichment and
                          18   impoverishment,” or that “Magellan’s data security was inadequate beyond pointing to the
                          19   fact that a security breach happened.” Id. at *8–9, 11–15. Plaintiffs’ unjust enrichment and
                          20   consumer protection claims should be dismissed again, without leave to amend.
                          21          C.     Plaintiffs’ Claims Should Be Dismissed on Alternative Grounds
                          22                 1.     Plaintiffs Do Not Allege a Claim for Unjust Enrichment
                          23          Plaintiffs argue that they plausibly allege a claim for unjust enrichment because they
                          24   allege “that they paid Defendant a monetary benefit.” (Opp. at 6.) But Plaintiffs’ SACC
                          25   alleges that Magellan “receive[s] fees from [its] affiliates or the states in which they
                          26   operate.” (SACC, ¶ 31.) In other words, the SACC concedes that Plaintiffs did not pay
                          27   Magellan anything at all. This concession is fatal to Plaintiffs’ claim, and their reliance on
                          28   In re Banner Health is misplaced because, there, the plaintiffs specifically alleged that



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                           1   “they paid money to Defendant for insurance plan premiums and healthcare service[s].” In
                           2   re Banner Health Data Breach Litig., No. CV-16-02696-PHX-SRB, 2017 WL 6763548,
                           3   at *6 (D. Ariz. Dec. 20, 2017) (emphasis added).
                           4            Further, to the extent Plaintiffs argue that Magellan was unjustly enriched by the
                           5   former employee Plaintiffs—Griffey, Rayam, Domingo, Williams, and Flanders—because
                           6   they “conferred the benefit of their labor to Defendant” (SACC, ¶ 168), this argument fails
                           7   because the SACC does not allege that those plaintiffs were not paid for their services.
                           8   And, apart from having received a notice of the Incident, Lewis never alleges any
                           9   relationship to Magellan whatsoever. (Id. at ¶¶ 14–15.) Plaintiffs’ unjust enrichment claim
                          10   fails.
                          11                   2.     Plaintiffs’ Consumer Protection Claims Do Not Satisfy Rule 9(b)
                          12            Plaintiffs assert that they have sufficiently pled their consumer protection claims
                          13   under Fed. R. Civ. P. 9(b). Plaintiffs argue that they adequately allege “‘why’ the
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                          14   statements were misleading” because they allege Magellan’s HIPAA Notice of Privacy
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                          15   Practices “were likely to deceive reasonable consumers about the adequacy of Defendant’s
                          16   data security and ability to protect the confidentiality of consumers’ PII and PHI.” (Opp.
                          17   at 7.) That, however, is not enough.
                          18            Plaintiffs are required to state the “specific content of the false representations,”
                          19   Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (emphasis added), and “an
                          20   explanation as to why the statement or omission complained of was false or misleading,”
                          21   Yourish v. Cal Amplifier, 191 F.3d 983, 993 (9th Cir. 1999). But Plaintiffs still fail to allege
                          22   what the specific false representation or omission was, or why any privacy policies were
                          23   misleading or false. Simply because the Incident occurred does not ipso facto make
                          24   Magellan’s statements about data security misleading, much less false. Nor does it
                          25   automatically follow that Magellan acted unfairly or unlawfully. Compare In re Solara
                          26   Med. Supplies, LLC Customer Data Sec. Breach Litig., No. 3:19-cv-2284-H-KSC, 2020
                          27   WL 2214152, at *10 (S.D. Cal. May 7, 2020) (UCL claims satisfied Rule 9(b) where
                          28   plaintiffs sufficiently pled defendant had “exclusive knowledge that its security practices



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                           1   fell short of industry standards”) with SACC, ¶¶ 178–88. Thus, Plaintiffs’ failure to explain
                           2   with specificity how Magellan misrepresented its data security or otherwise acted
                           3   unlawfully warrants dismissal of their consumer protection claims. See Griffey, 2021 WL
                           4   4427065, at *11–12.
                           5                 3.      Plaintiffs’ Extraterritoriality Argument Lacks Merit
                           6          Plaintiffs state that “at least one,” out-of-circuit court has rejected Magellan’s
                           7   “extraterritoriality argument.” (Opp. at 9.) But Plaintiffs ignore this Court’s clear ruling
                           8   that the California UCL, Florida DUTPA, NYGLB § 349, and Wisconsin DTPA statutes
                           9   “do not apply extraterritorially.” Griffey, 2021 WL 4427065, at *16–17. And Plaintiffs
                          10   conflate their “dissemination” allegations with cases involving allegations of in-state,
                          11   liability-creating conduct. For example, in In re Marriott, the court determined that
                          12   NYGBL § 349 applied to the New York Plaintiffs because the alleged deception occurred
                          13   in New York where Plaintiffs “allege[d] that they made Marriott reservations in New York
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                          14   and/or stayed at Marriott properties in New York,” and thus provided their personal
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                          15   information to Marriott in New York. In re Marriott Int’l, Inc., Customer Data Sec. Breach
                          16   Litig., 440 F. Supp. 3d 447, 493 (D. Md. 2020).
                          17          Here, though, Plaintiffs do not allege that they provided their personal information
                          18   in their respective states, that Magellan conducts business in their states, or that any of the
                          19   acts of the Incident occurred outside of Arizona. (Opp. at 9–11.) Instead, the only conduct
                          20   Plaintiffs allege occurred in their respective home states was that Magellan’s “HIPAA
                          21   Notice of Privacy Practices [was] disseminated” in their home states. (Opp. at 10.)
                          22   Plaintiffs, however, point to no authority supporting their argument that this is sufficient.
                          23          In addition, Plaintiffs’ assertions that Magellan is “governed by the CCRA and
                          24   CCPA” and that other data breach cases “ha[ve] allowed California, Florida, and New York
                          25   statutory claims to be asserted on behalf of state subclasses for those states,” are simply
                          26   smoke screens. (Opp. at 10–11.) First, Plaintiffs do not bring a CCRA claim. (See SACC.)
                          27   Second, Magellan does not argue whether the CCPA applies extraterritorially. (See ECF
                          28   No. 41 at 11.) Third, two of the three cases Plaintiffs cite do not even analyze the statutes’



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                           1   extraterritorial reach and thus do not support Plaintiffs’ argument. (See Opp. at 10–11
                           2   (citing In re Blackbaud, 2021 WL 3568394, at *5, *10, and *14 (D.S.C. Aug. 12, 2021);
                           3   In re Capital One Consumer Data Sec. Breach Litig., 488 F. Supp. 3d 374, 422-426 (E.D.
                           4   Va. 2020).) Cf. In re Marriott, supra. Thus, Plaintiffs once again fail to allege that any
                           5   liability-creating conduct occurred within their respective home states. As such, Plaintiffs’
                           6   California UCL, Florida DUTPA, NYGBL § 349, and Wisconsin DTPA claims should be
                           7   dismissed with prejudice.
                           8                 4.     Leather’s NYGBL § 349 Claim Fails
                           9          Plaintiffs allege that Magellan ignored “persuasive case law authority” in seeking
                          10   dismissal of Leather’s NYGBL § 349 claim. (Opp. at 11.) They then cite a single case to
                          11   support Leather’s allegations. (Opp. at 11–12.) But it is Plaintiffs who ignore binding law
                          12   of the case from this Court dismissing this claim:
                          13              Even if the privacy policy applies to Magellan’s data security
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                                          measures for its health care plans, Abdale [v. North Shore Long
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                          14
                                          Island Jewish Health Systems, Inc., 19 N.Y.S. 3d 850 (N.Y. Sup. Ct.
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                          15              2015)] is more closely aligned with the facts in this case. Here,
                                          Leather did not allege that Magellan's privacy policy made
                          16              statements as strong as the statements in Fero. Indeed, Leather never
                          17              alleges that Magellan “guaranteed” anything. Like in Abdale,
                                          Magellan’s privacy policy does not amount to an unlimited guaranty
                          18              protecting PII and PHI from data breaches.
                          19   Griffey, 2021 WL 4427065, at *13. Despite this ruling, Leather still does not allege that
                          20   Magellan guaranteed anything, regardless of whether she now relies on a “separate privacy
                          21   policy” than before. (Opp. at 11–12.) Nor does Leather allege how any of the statements
                          22   in Magellan’s security policies were false or misleading, or what disclosures Magellan
                          23   should have made. (Id.) Finally, despite this Court already concluding that Abdale “is more
                          24   closely aligned with the facts in this case,” Griffey, 2021 WL 4427065, at *13, Plaintiffs
                          25   entirely fail to present any facts (or arguments) why Leather’s allegations are
                          26   distinguishable from that court’s holding. (See id. (failing to cite Abdale at all).) These
                          27   failures are fatal to Leather’s claim, which should be dismissed once again.
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                           1                   5.     Lewis’s FDUTPA Claim Fails
                           2            Plaintiffs argue that Lewis “need not be a ‘consumer’ to have standing to bring a
                           3   FDUTPA claim.” (Opp. at 13.) Even if that were so (which Magellan disputes),2 Lewis
                           4   must still allege that a consumer was injured. E.g., CEMEX Constr. Materials Fla., LLC
                           5   v. Armstrong World Indus., Inc., No. 3:16-CV-186-J-34JRK, 2018 WL 905752, at *15
                           6   (M.D. Fla. Feb. 15, 2018) (Caribbean Cruise Line unequivocally instructs that a plaintiff
                           7   must “prove that there was injury or detriment to consumers in order to satisfy all the
                           8   elements of a FDUTPA claim.”); Stewart Agency, Inc. v. Arrigo Enters., Inc., 266 So. 3d
                           9   207, 212 (Fla Dist. Ct. App. 2019) (person bringing a FDUTPA claim “still must prove the
                          10   elements of the claim, including an injury to a consumer”). But Lewis does not allege that
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                          11   he has suffered any cognizable loss (consumer or otherwise),3 nor does he allege that any
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                          12   consumer suffered a consumer injury. (Opp. at 13–14.) Because Lewis has wholly failed
                          13   to show that any consumer has suffered injury, the Court should dismiss this claim.
                          14                   6.     Ranson’s CCPA Claim Fails
                          15            Plaintiffs argue that, although “Defendant is correct that the CCPA does not apply
                          16   to protected health information governed by HIPAA,” the CCPA still applies to Ranson’s
                          17   PII that he alleges was “subject to unauthorized access and exfiltration, theft, or
                          18   disclosure[.]” (Opp. at 14.) They also argue that Ranson’s “CCPA notice was timely and
                          19   properly identified the specific code section violated.” (Id. at 15.) Both arguments fail.
                          20            First, Ranson fails to identify what specific information of his was accessed without
                          21   authorization. (See id. at 14.) Instead, Ranson relies on general class-wide allegations that
                          22   his “private information” was accessed; that Magellan failed to protect his “and the
                          23
                          24   2
                                 As noted by Plaintiffs, the Florida Supreme Court has not addressed whether the 2001
                               amendment to Fla. Stat. Ann. § 501.201 eliminated the need for Plaintiff to prove that he
                          25   was a “consumer.” (Opp. at 12.) And district courts are split on the impact of the 2001
                               amendment. Caribbean Cruise Line, Inc. v. Better Bus. Bureau of Palm Beach Cty., Inc.,
                          26   169 So. 3d 164, 168 (Fla. Dist. Ct. App. 2015) (“Holdings from the District Courts are
                               outwardly mixed when it comes to whether courts require a plaintiff to be a consumer in
                          27   order to bring a F[L] DUTPA claim.”).
                               3
                                 “[C]osts for credit monitoring and identity protection services or the time and expenses
                          28   related to monitoring [] financial accounts” “cannot sustain a [FDUTPA] claim.” In re Cap.
                               One Consumer Data Sec. Breach Litig., 488 F. Supp. 3d 374, 424 n.33 (E.D. Va. 2020).


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                           1   California Class Members’ PII and PHI”’; and that “Plaintiff Ranson’s and California Class
                           2   Members’ PII and PHI constitutes ‘personal information.’” (SACC, ¶¶ 9, 184, 192.) Even
                           3   if some of the information at issue would not fall under the umbrella of PHI, Ranson does
                           4   not allege that non-PHI information is attributable to him. (See generally SACC; Opp. at
                           5   15.) That omission cannot be cured by Plaintiffs’ Opposition. See Phomthevy v. WinCo
                           6   Holdings, Inc., No. 219CV00041KJMCKD, 2019 WL 3067105, at *4 (E.D. Cal. July 12,
                           7   2019) (citing Goodman v. Port Auth. of N.Y. & N.J., 850 F. Supp. 2d 363, 380 (S.D.N.Y.
                           8   2012) (“[M]emoranda and supporting affidavits in opposition to a motion to dismiss cannot
                           9   be used to cure a defective complaint.”)).
                          10          Second, no matter how Ranson tries to spin it, he did not comply with the CCPA’s
                          11   notice-and-cure period. Cal. Civ. Code § 1798.150(b). His gamesmanship is evident.
                          12   Ranson concedes that he only waited three days after giving notice of an alleged CCPA
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                          13   violation before bringing his CCPA claim for actual damages in the FACC, for which the
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                          14   thirty-day statutory notice-and-cure period does not apply.4 (Opp. at 15.) After the Court
                          15   dismissed the CCPA claim for lack of actual damages, Griffey, 2021 WL 4427065, at *15,
                          16   only then did Ranson amend to add a claim for statutory damages. But in doing so he tries
                          17   to piggyback off of a prior noncompliant notice. Ranson could not have asserted his
                          18   statutory damages claim a mere three days after providing his CCPA notice. And he cites
                          19   no authority that permits a plaintiff to include a perfunctory CCPA notice as a placeholder
                          20   for statutory damages, to be used at some unknown point in the future if and when an initial
                          21   CCPA claim fails for lack of actual damages. Such gamesmanship is an inappropriate
                          22   attempt to circumvent the policy behind the CCPA’s thirty-day cure period which was
                          23   intended to allow businesses, “in the event that a cure is possible, [to] avoid statutory
                          24   damages or class-wide damages,” i.e., to avoid litigation. Julia M. Siracuse, The Future of
                          25   Our Fingerprints: The Importance of Instituting Biometric Data Protections in
                          26   Pennsylvania, 59 Duq. L. Rev. 303, 326 (2021) (emphasis added); see generally Allaire
                          27
                          28   4
                                Notably, Plaintiffs first filed suit against Magellan in connection with this Incident on
                               July 8, 2020—five months before the CCPA notice was served.


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                           1   Monticollo, Chelsea Reckell, Emilio Cividanes, California Privacy Landscape Changes
                           2   Again with Approval of New Ballot Initiative, Antitrust, Fall 2020, at 32, 34 (“If the
                           3   business cures the alleged violation within 30 days of being notified, it will not be subject
                           4   to penalty from the Attorney General, and for the consumer allegations, no individual or
                           5   class action suit for statutory damages may be brought by the business.”).
                           6          Moreover, in analogous circumstances, courts have repeatedly rejected attempts by
                           7   plaintiffs to circumvent statutory notice requirements. For example, the Ninth Circuit has
                           8   concluded that, where a buyer is required to provide notice to a seller under the Uniform
                           9   Commercial Code, that notice must be given before any suit is filed. Alvarez v. Chevron
                          10   Corp., 656 F.3d 925, 932 (9th Cir. 2011) (“The purpose of giving notice of breach is to
                          11   allow the breaching party to cure the breach and thereby avoid the necessity of litigating
                          12   the matter in Court.”). Allowing plaintiffs to provide notice “simultaneously with the
                          13   complaint” or after the case was initiated would “completely undermine[]” this notice
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                          14   policy.); see also Adkins v. Apple Inc., 147 F. Supp. 3d 913, 920 (N.D. Cal. 2014) (same).
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                          15   The same rationale should apply here.
                          16          Finally, the Court also should find that the notice was defective on its face. In their
                          17   Opposition, Plaintiffs argue that Ranson’s notice “explicitly states that ‘[t]he specific code
                          18   violated is Cal. Civ. Code § 1798.150(a)(1),” but that simply references the private right of
                          19   action. (Opp. at 15.) The CCPA requires the notice to identify which “specific provisions”
                          20   were alleged to have been violated, which Ranson’s notice fails to do. § 1798.150(b).
                          21          Accordingly, Ranson’s CCPA should be dismissed with prejudice, as his required
                          22   notice was both untimely and defective.
                          23   III.   CONCLUSION
                          24          In sum, with the SACC, Plaintiffs fail to heed the Court’s advice for curing the fatal
                          25   deficiencies in the FACC. The logical explanation is that Plaintiffs cannot cure them;
                          26   sufficient facts do not exist to do so. Thus, the SACC should be dismissed in its entirety
                          27   without leave to amend.
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                           1   Dated: November 16, 2021              Respectfully submitted,
                           2
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